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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA,
                           ATLANTA DIVISION

JEWELTEX MANUFACTURING                     )   Civil Action No.
                                           )
INC. RETIREMENT PLAN,                      )
                                           )
                  Plaintiff,               )   COMPLAINT FOR
                                           )   VIOLATIONS OF THE
                                           )   FEDERAL SECURITIES
                  vs.                      )   LAWS
                                           )
                                           )   JURY TRIAL DEMANDED
GREENSKY, INC., GERALD                     )
BENJAMIN, JOEL BABBIT, GREGG               )
FREISHTAT, DAVID ZALIK, and                )
                                           )
ARTHUR BACCI,                              )
                                           )
                        Defendants.        )
                                           )



      Plaintiff Jeweltex Manufacturing Inc. Retirement Plan (“Plaintiff”), by and

through its undersigned counsel, for its complaint against defendants, alleges upon

personal knowledge with respect to itself, and upon information and belief based

upon, inter alia, the investigation of counsel as to all other allegations herein, as

follows:

                  NATURE AND SUMMARY OF THE ACTION

      1.      This is an action brought by Plaintiff against GreenSky, Inc.

(“GreenSky” or the “Company”) and the members of its Board of Directors (the

“Board” or the “Individual Defendants”) for their violations of Sections 14(a) and
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20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C.

§§ 78n(a), 78t(a) and U.S. Securities and Exchange Commission (“SEC”) Rule 14a-

9, 17 C.F.R. § 240.14a-9, and to enjoin the vote on a proposed transaction, pursuant

to which GreenSky will be acquired by The Goldman Sachs Group, Inc. (“GS

Group”) through GS Group’s subsidiaries Goldman Sachs Bank USA (“Bank”),

Glacier Merger Sub 1, LLC (“Merger Sub 1”) and Glacier Merger Sub 2, LLC

(“Merger Sub 2”) (the “Proposed Transaction”).

      2.      On September 15, 2021, GreenSky and GS Group issued a joint press

release announcing they had entered into an Agreement and Plan of Merger dated

September 14, 2021 (the “Merger Agreement”) to sell GreenSky to GS Group.

Under the terms of the Merger Agreement, each GreenSky stockholder will receive

0.03 shares of GS Group common stock for each share of GreenSky common stock

they own (the “Merger Consideration”). The Proposed Transaction is valued at

approximately $2.24 billion.

      3.      On November 9, 2021, GreenSky filed a Schedule 14A Definitive

Proxy Statement (the “Proxy Statement”) with the SEC. The Proxy Statement,

which recommends that GreenSky stockholders vote in favor of the Proposed

Transaction, omits or misrepresents material information concerning, among other

things: (i) GreenSky management’s and GS Group’s financial projections; (ii) the

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data and inputs underlying the valuation analyses performed by the Company’s

financial advisor, J.P. Morgan Securities LLC (“J.P. Morgan”), and the Special

Committee of the Board’s (Special Committee”) financial advisor Piper Sandler &

Co. (“Piper Sandler”); and (iii) J.P. Morgan’s potential conflicts of interest.

Defendants authorized the issuance of the false and misleading Proxy Statement in

violation of Sections 14(a) and 20(a) of the Exchange Act.

      4.      In short, unless remedied, GreenSky’s public stockholders will be

irreparably harmed because the Proxy Statement’s material misrepresentations and

omissions prevent them from making a sufficiently informed voting decision on the

Proposed Transaction.       Plaintiff seeks to enjoin the stockholder vote on the

Proposed Transaction unless and until such Exchange Act violations are cured.

                          JURISDICTION AND VENUE

      5.      This Court has jurisdiction over the claims asserted herein for violations

of Sections 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated

thereunder pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28

U.S.C. § 1331 (federal question jurisdiction).

     6.       This Court has jurisdiction over the defendants because each defendant

is either a corporation that conducts business in and maintains operations within this

District, or is an individual with sufficient minimum contacts with this District so

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as to make the exercise of jurisdiction by this Court permissible under traditional

notions of fair play and substantial justice.

      7.       Venue is proper in this District under Section 27 of the Exchange Act,

15 U.S.C. § 78aa, as well as under 28 U.S.C. § 1391 because defendants have

received substantial compensation in this District by doing business here and

engaging in numerous activities that had an effect in this District. Defendant

GreenSky is headquartered in this District, rendering venue in this District

appropriate.

                                   THE PARTIES

      8.       Plaintiff is, and has been at all times relevant hereto, a continuous

stockholder of GreenSky.

      9.       Defendant GreenSky is a Delaware corporation, with its principal

executive offices located at 5565 Glenridge Connector, Suite 700, Atlanta, Georgia

30342.     The Company is a leading U.S.-based technology company enabling

frictionless promotional financing at the point of sale for a growing ecosystem of

merchants, consumers and bank partners. GreenSky’s common stock trades on the

Nasdaq Global Select Market under the ticker symbol “GSKY.”




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        10.   Defendant    Gerald    Benjamin    (“Benjamin”)     has   been    Chief

Administrative Officer of the Company since February 2018, and Vice Chairman of

the Board and a director since 2014.

        11.   Defendant Joel Babbit (“Babbit”) has been a director of the Company

since 2015.

        12.   Defendant Gregg Freishtat (“Freishtat”) has been a director of the

Company since 2014.

        13.   Defendant David Zalik (“Zalik”) has been Chief Executive Officer

(“CEO”) of the Company since co-founding GreenSky in 2006, and a director since

2014.

        14.   Defendant Arthur Bacci (“Bacci”) has been a director of the Company

since April 2019.

        15.   Defendants identified in paragraphs 10-14 are referred to herein as the

“Board” or the “Individual Defendants.”

                          OTHER RELEVANT ENTITIES

        16.   GS Group is a leading global financial institution that delivers a broad

range of financial services across investment banking, securities, investment

management and consumer banking to a large and diversified client base that

includes corporations, financial institutions, governments and individuals.       GS

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Group operates through four segments: Investment Banking, Global Markets, Asset

Management, and Consumer & Wealth Management.                Investment Banking

generates revenues from financial advisory, underwriting and corporate lending

activities. Global Markets consists of Fixed Income, Currency and Commodities

and Equities, and generates revenues from intermediation and financing activities.

Asset Management generates revenues from management and other fees, incentive

fees, equity investments, and lending and debt investments. Consumer & Wealth

Management consists of Wealth management and Consumer banking, and generates

revenues from management and other fees, incentive fees, private banking and

lending, and consumer-oriented activities. As of December 2020, GS Group had

40,500 employees out of offices in over 35 countries.

      17.   GS Bank is a New York State-chartered bank and the U.S. depository

institution subsidiary of GS Group.

      18.   Merger Sub 1 is a Delaware limited liability company and wholly

owned subsidiary of GS Bank.

      19.   Merger Sub 2 is a Georgia limited liability company and wholly owned

subsidiary of GS Bank.

                         SUBSTANTIVE ALLEGATIONS

Background of the Company

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      20.   GreenSky is a leading technology company Powering Commerce at the

Point of Sale for a growing ecosystem of merchants, consumers and banks.

GreenSky’s highly scalable, proprietary and patented technology platform enables

merchants to offer frictionless promotional payment options to consumers, driving

increased sales volume and accelerated cash flow. Banks leverage GreenSky’s

technology to provide loans to super-prime and prime consumers nationwide.

GreenSky currently services a $9 billion loan portfolio, and since GreenSky’s

inception, approximately 4 million consumers have financed more than $30 billion

of commerce using GreenSky’s paperless, real-time “apply and buy” technology.

      21.   The Company’s business model, built upon repeat and growing usage

by merchants, allows it to generate recurring revenues with limited customer

acquisition and marketing costs, resulting in attractive unit economics and strong

margins. GreenSky derives most of its revenue and profitability from upfront

transaction fees that merchants pay every time they facilitate a transaction using

GreenSky’s platform.

      On November 4, 2021, the Company announced its third quarter 2021
      financial results. For the third quarter of 2021, the Company
      recognized net income of $39.8 million compared to net income of $2.8
      million for the same period of 2020, resulting in diluted earnings per
      share of $0.19, compared to diluted earnings per share of $0.01 in the
      third quarter of 2020. Third quarter transaction volume was $1.5
      billion, an increase of 4% when compared to the third quarter of 2020.
      Third quarter Adjusted EBITDA was a company record $58.3 million,
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     an increase of 51% from $38.7 million in the third quarter of 2020.
     Adjusted EBITDA margin improved to 45% in the third quarter of
     2021, up from 27% in the third quarter of 2020. Net cash flows
     provided (used) by operating activities for the nine months ended
     September 30, 2021, and 2020 were $301 million and ($430 million),
     respectively. Reflecting on the Company’s results, defendant Zalik
     stated:I am thrilled to report that GreenSky posted another strong
     quarter of outstanding profitability metrics which underscores our
     continued generation of attractive operating results. In September,
     GreenSky entered into a definitive agreement to be acquired by
     Goldman Sachs. This pending acquisition is a testament to GreenSky’s
     strong underlying profitability, unparalleled merchant and consumer
     network, impressive cloud native technology platform and continued
     commitment to delight our customers.
The Proposed Transaction

      22.   On September 15, 2021, GreenSky and GS Group issued a joint press

release announcing the Proposed Transaction, which states, in relevant part:

      NEW YORK and ATLANTA, September 15, 2021 – The Goldman
      Sachs Group, Inc. (“Goldman Sachs”) and GreenSky, Inc.
      (“GreenSky”; NASDAQ: GSKY) today announced that they have
      entered into a definitive agreement pursuant to which Goldman Sachs
      will acquire GreenSky, the largest fintech platform for home
      improvement consumer loan originations, in an all-stock transaction
      valued at approximately $2.24 billion. GreenSky’s differentiated
      lending capabilities and market-leading merchant and consumer
      ecosystem will help accelerate the efforts of Goldman Sachs to create
      the consumer banking platform of the future, help tens of millions of
      customers take control of their financial lives and drive higher, more
      durable returns.

      The acquisition will enhance Goldman Sachs’ ability to provide
      consumers with the opportunity to save, spend, borrow and invest, and
      meet customers where they transact. Since its founding, GreenSky has
      provided simple and transparent home improvement financing
      solutions for approximately four million customers. GreenSky has a
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growing network of over 10,000 merchants and helps them accelerate
their business by incorporating a seamless financing experience into
their commerce flow. Aligning GreenSky’s unique capabilities and
growing user base with the expanding products of Marcus by Goldman
Sachs creates a compelling banking platform positioned for significant
growth.

“We have been clear in our aspiration for Marcus to become the
consumer banking platform of the future, and the acquisition of
GreenSky advances this goal,” said David M. Solomon, Chairman and
CEO of Goldman Sachs. “GreenSky and its talented team have built
an impressive, cloud-native platform that will allow Marcus to reach a
new and active set of merchants and customers and provide them with
an expanding set of solutions. We welcome the GreenSky team to the
Goldman Sachs family.”

“The GreenSky team and I are thrilled to be joining Goldman Sachs,”
said David Zalik, Chief Executive Officer of GreenSky. “From
GreenSky’s inception, our mission has been to deliver exceptional
value helping businesses grow and delight their customers. In
combination with Goldman Sachs, we’re excited to continue delivering
innovative point-of-sale payment solutions for our merchant partners
and their customers on an accelerated basis.”
In just five years, the consumer business of Goldman Sachs has made
significant progress toward its goal to provide an integrated and
customer-centric digital offering that enables customers to take control
of their financial lives. This transaction is consistent with that vision
and Goldman Sachs’ strategy to meet consumers through proprietary
channels and through the ecosystems of leading companies with
embedded technology.
Transaction Details

As part of the agreement, GreenSky stockholders will receive 0.03
shares of common stock of Goldman Sachs for each share of GreenSky
Class A common stock. Based on the closing share price of Goldman
Sachs common stock as of September 14, 2021, this represents a per
share price for GreenSky Class A common stock of $12.11 and an
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      implied transaction value of approximately $2.24 billion. In connection
      with the transaction, GreenSky’s tax receivable agreement was
      amended to provide that no payments will be made in respect of or
      following the transaction; these payments would have had an
      approximate value of $446 million or $2.41 per share.

      The Boards of Directors of Goldman Sachs and GreenSky have
      approved the transaction. The Board of Directors of GreenSky, acting
      upon the unanimous recommendation of a special committee composed
      of independent directors of the Board, recommends that GreenSky
      stockholders approve the transaction and adopt the merger agreement.
      The transaction, which is anticipated to close in the fourth quarter of
      2021 or first quarter of 2022, is subject to approval by GreenSky
      stockholders, the receipt of required regulatory approvals, and
      satisfaction of other customary closing conditions.

      Goldman Sachs & Co. LLC is serving as financial advisor and Sullivan
      & Cromwell LLP is serving as legal counsel to Goldman Sachs.
      J.P. Morgan Securities LLC and Financial Technology Partners LP are
      serving as financial advisors and Cravath, Swaine & Moore LLP and
      Troutman Pepper Hamilton Sanders LLP are serving as legal counsel
      to GreenSky.
      Piper Sandler & Co. is serving as financial advisor and Wilson Sonsini
      Goodrich & Rosati P.C. is serving as legal counsel to the special
      committee of the Board of Directors of GreenSky.

Insiders’ Interests in the Proposed Transaction

      23.   GreenSky insiders are the primary beneficiaries of the Proposed

Transaction, not the Company’s public stockholders. The Board and the Company’s

executive officers are conflicted because they will have secured unique benefits for

themselves from the Proposed Transaction not available to Plaintiff and the public

stockholders of GreenSky.
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      24.    Notably, Company insiders stand to reap substantial financial benefits

for securing the deal. Pursuant to the Merger Agreement, all outstanding Company

options, restricted shares, and restricted units will convert into the right to receive

cash payments. The following table sets forth the cash payments the Company’s

non-employee directors stand to receive in connection with their Company options,

restricted shares, and restricted units:




      25.    Further, under the terms of the merger agreement, GreenSky may

establish a cash retention bonus program (the “retention bonuses”) for the benefit of

certain GreenSky employees. The aggregate expected value of the retention bonus

payments that covered employees who are not named executive officers may receive

is $2,500,000.

      26.    Moreover, if they are terminated in connection with the Proposed

Transaction, GreenSky’s named executive officers stand to receive substantial cash

severance payments in the form of golden parachute compensation, as set forth in


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the following table:




The Proxy Statement Contains Material Misstatements or Omissions

       27.    The defendants filed a materially incomplete and misleading Proxy

Statement with the SEC and disseminated it to GreenSky’s stockholders. The Proxy

Statement misrepresents or omits material information that is necessary for the

Company’s stockholders to make an informed decision whether to vote in favor of

the Proposed Transaction.

       28.    Specifically, as set forth below, the Proxy Statement fails to provide

Company stockholders with material information or provides them with materially

misleading information concerning: (i) GreenSky management’s and GS Group’s

financial projections; (ii) the data and inputs underlying the valuation analyses

performed by the Company’s financial advisor, J.P. Morgan, and Special

Committee’s financial advisor, Piper Sandler; and (iii) J.P. Morgan’s potential

conflicts of interest.

Material Omissions Concerning GreenSky Management’s and the GS Group’s
Financial Projections

       29.    The Proxy Statement omits material information regarding Company
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management’s and GS Group’s financial projections.

      30.    For example, with respect to GreenSky management’s forecasts, the

Proxy Statement fails to disclose each of the line items underlying: (i) Gross Profit;

(ii) Net Income; (iii) Adjusted EBITDA; and (iv) Unlevered Free Cash Flow.

      31.    Additionally, the Proxy Statement sets forth that in performing its Net

Present Value Analysis of the GS Group, Piper Sandler utilized mean research

analyst net income, EPS and dividends per share estimates for GS Group for the

years ending December 31, 2021, through December 31, 2023 (“Consensus GS

Group Estimates”). See Proxy Statement at 90. The Proxy Statement, however, fails

to disclose the Consensus GS Group Estimates.

      32.    The omission of this information renders the statements in the ““Certain

Unaudited Financial Information” and “Opinion of Piper Sandler, GreenSky Special

Committee’s Financial Advisor” sections of the Proxy Statement false and/or

materially misleading in contravention of the Exchange Act.

Material Omissions Concerning J.P. Morgan’s and Piper Sandler’s Financial
Analyses

      33.    Additionally, the Proxy Statement describes J.P. Morgan’s and Piper

Sandler’s fairness opinions and the various valuation analyses performed in support

of their opinions. However, the description of J.P. Morgan’s and Piper Sandler’s

fairness opinions and analyses fails to include key inputs and assumptions
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underlying these analyses.      Without this information, as described below,

GreenSky’s public stockholders are unable to fully understand these analyses and,

thus, are unable to determine what weight, if any, to place on J.P. Morgan’s and

Piper Sandler’s fairness opinions in determining whether to vote in favor of the

Proposed Transaction.

      34.    With respect to J.P. Morgan’s Public Trading Multiples Analysis, the

Proxy Statement fails to disclose the individual multiples and financial metrics for

each of the companies analyzed by J.P. Morgan.

      35.    With respect to J.P. Morgan’s Discounted Cash Flow Analysis, the

Proxy Statement fails to disclose: (i) quantification of the Company’s terminal

values; and (ii) quantification of the inputs and assumptions underlying the discount

rate range of 11.0% to 13.0%.

      36.    With respect to Piper Sandler’s Comparable Company Analyses and

Analysis of Precedent Transactions, the Proxy Statement fails to disclose the

individual multiples and financial metrics for each of the companies analyzed by

Piper Sandler.

      37.    With respect to Piper Sandler’s Net Present Value Analyses, the Proxy

Statement fails to disclose: (i) the Consensus GS Group Estimates utilized in the

analysis of the GS Group; (ii) quantification of the terminal values resulting from

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the analyses; and (iii) quantification of the inputs and assumptions underlying the

discount rate range of 10.0% to 14.0%, utilized for the analysis that estimated the

net present value of a share of GreenSky class A common stock and 7.5% to 10.5%,

utilized for the analysis that estimated the net present value per share of GS Group

common stock.

      38.    The omission of this information renders the statements in the “Certain

Unaudited Financial Information,” “Opinion of J.P. Morgan, GreenSky’s Financial

Advisor” and “Opinion of Piper Sandler, GreenSky Special Committee’s Financial

Advisor” sections of the Proxy Statement false and/or materially misleading in

contravention of the Exchange Act.

Material Omissions Concerning J.P. Morgan’s Potential Conflicts of Interest

      39.    The Proxy Statement fails to disclose material information concerning

J.P. Morgan’s potential conflicts of interest.

      40.    The Proxy Statement sets forth that “During the two-year period

preceding delivery of its opinion, the aggregate fees recognized by J.P. Morgan from

. . . GS Group were approximately $60 million.” Id. at 81-82. The Proxy Statement,

however, fails to disclose the specific services that J.P. Morgan provided to the GS

Group in the two years preceding delivery of its fairness opinion.

      41.    The omission of this material information renders the statements in the

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“Background of the Transactions” and “Opinion of J.P. Morgan, GreenSky’s

Financial Advisor” sections of the Proxy Statement false and/or materially

misleading in contravention of the Exchange Act.

      42.     The Individual Defendants were aware of their duty to disclose the

above-referenced omitted information and acted negligently (if not deliberately) in

failing to include this information in the Proxy Statement. Absent disclosure of the

foregoing material information prior to the stockholder vote on the Proposed

Transaction, Plaintiff and the other GreenSky stockholders will be unable to make

an informed voting decision on the Proposed Transaction and are thus threatened

with irreparable harm warranting the injunctive relief sought herein.

                               CLAIMS FOR RELIEF
                                        COUNT I

            Against All Defendants for Violations of Section 14(a) of the
             Exchange Act and Rule 14a-9 Promulgated Thereunder

      43.     Plaintiff repeats all previous allegations as if set forth in full.

      44.     During the relevant period, defendants disseminated the false and

misleading Proxy Statement specified above, which failed to disclose material facts

necessary to make the statements, in light of the circumstances under which they

were made, not misleading in violation of Section 14(a) of the Exchange Act and

SEC Rule 14a-9 promulgated thereunder.
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      45.    By virtue of their positions within the Company, the defendants were

aware of this information and of their duty to disclose this information in the Proxy

Statement. The Proxy Statement was prepared, reviewed, and/or disseminated by

the defendants. It misrepresented and/or omitted material facts, including material

information about GreenSky management’s and GS Group’s financial projections,

the data and inputs underlying the valuation analyses performed by the Company’s

financial advisor, J.P. Morgan, and Special Committee’s financial advisor, Piper

Sandler and J.P. Morgan’s potential conflicts of interest. The defendants were at

least negligent in filing the Proxy Statement with these materially false and

misleading statements.

      46.    The omissions and false and misleading statements in the Proxy

Statement are material in that a reasonable stockholder would consider them

important in deciding how to vote on the Proposed Transaction.

      47.    By reason of the foregoing, the defendants have violated Section 14(a)

of the Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

      48.    Because of the false and misleading statements in the Proxy Statement,

Plaintiff is threatened with irreparable harm, rendering money damages inadequate.

Therefore, injunctive relief is appropriate to ensure defendants’ misconduct is

corrected.

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                                      COUNT II

    Against the Individual Defendants for Violations of Section 20(a) of the
                                Exchange Act

      49.    Plaintiff repeats all previous allegations as if set forth in full.

      50.    The Individual Defendants acted as controlling persons of GreenSky

within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue

of their positions as officers and/or directors of GreenSky, and participation in and/or

awareness of the Company’s operations and/or intimate knowledge of the false

statements contained in the Proxy Statement filed with the SEC, they had the power

to influence and control and did influence and control, directly or indirectly, the

decision-making of the Company, including the content and dissemination of the

various statements which Plaintiff contends are false and misleading.

      51.    Each of the Individual Defendants was provided with or had unlimited

access to copies of the Proxy Statement and other statements alleged by Plaintiff to

be misleading prior to and/or shortly after these statements were issued and had the

ability to prevent the issuance of the statements or cause the statements to be

corrected.

      52.    In particular, each of the Individual Defendants had direct and

supervisory involvement in the day-to-day operations of the Company, and,

therefore, is presumed to have had the power to control or influence the particular
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transactions giving rise to the securities violations as alleged herein, and exercised

the same. The Proxy Statement at issue contains the unanimous recommendation of

each of the Individual Defendants to approve the Proposed Transaction. They were,

thus, directly involved in the making of the Proxy Statement.

      53.    In addition, as the Proxy Statement sets forth at length, and as described

herein, the Individual Defendants were each involved in negotiating, reviewing, and

approving the Proposed Transaction. The Proxy Statement purports to describe the

various issues and information that they reviewed and considered—descriptions the

Company directors had input into.

      54.    By virtue of the foregoing, the Individual Defendants have violated

Section 20(a) of the Exchange Act.

      55.    As set forth above, the Individual Defendants had the ability to exercise

control over and did control a person or persons who have each violated Section

14(a) and SEC Rule 14a-9, promulgated thereunder, by their acts and omissions as

alleged herein. By virtue of their positions as controlling persons, these defendants

are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of defendants’ conduct, GreenSky’s stockholders will be irreparably harmed.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands judgment and preliminary and permanent

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relief, including injunctive relief, in its favor on behalf of GreenSky, and against

defendants, as follows:

      A.    Preliminarily and permanently enjoining defendants and all persons

            acting in concert with them from proceeding with, consummating, or

            closing the Proposed Transaction and any vote on the Proposed

            Transaction, unless and until defendants disclose and disseminate the

            material information identified above to GreenSky stockholders;

      B.    In the event defendants consummate the Proposed Transaction,

            rescinding it and setting it aside or awarding rescissory damages to

            Plaintiff;

      C.    Declaring that defendants violated Sections 14(a) and/or 20(a) of the

            Exchange Act, as well as SEC Rule 14a-9 promulgated thereunder;

      D.    Awarding Plaintiff the costs of this action, including reasonable

            allowance for Plaintiff’s attorneys’ and experts’ fees; and

      E.    Granting such other and further relief as this Court may deem just and

            proper.


                                 JURY DEMAND

      Plaintiff demands a trial by jury.


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Dated: November 19, 2021             WEISSLAW LLP

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